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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



 Ku S.,
                                                           Case No. 20-cv-894 PJS/ECW
               Plaintiff,

 v.                                                            ORDER

 Secretary Homeland Security et al,

               Defendants.



       Based upon the Findings of Fact, Conclusions of Law, and Recommendation by

United States Magistrate Judge Elizabeth Cowan Wright dated December 15, 2020, all

the files and records, and no objections having been filed to said Report and

Recommendation, IT IS HEREBY ORDERED that:

       1.     Petitioner Ku S.’s Petition for a Writ of Habeas Corpus pursuant to 28

U.S.C. § 2241 (Dkt. 1) is DENIED AS MOOT.

       2.     This case is DISMISSED WITHOUT PREJUDICE.



       LET JUDGMENT BE ENTERED ACCORDINGLY.




DATED: 1/11/21                                   s/Patrick J. Schiltz
                                                 PATRICK J. SCHILTZ
                                                 United States District Judge
